 1 Martha G. Bronitsky
     Chapter 13 Standing Trustee
 2 Po Box 5004
     Hayward,CA 94540
 3
     (510) 266 - 5580
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     Trustee for Debtor(s)
 5                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 6                                         OAKLAND DIVISION

 7
     In re
 8           Cara Pietrina Cordoni                          Chapter 13 Case No. 18-40460-CN 13
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10
                                 debtor(s)
11                              Trustee's Motion and Declaration to
               Dismiss or Convert Proceedings for Case Deficiencies and Notice Thereon
12
     TO DEBTOR(S) AND DEBTOR(S)' ATTORNEY OF RECORD:
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         Martha G. Bronitsky, Chapter 13 Standing Trustee, hereby moves the court for an Order Dismissing
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     or converting this case for cause pursuant to 11 U.S.C. §1307(c) based on unreasonable delay that it is
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     prejudicial to creditors: failure to cooperate with the Trustee in the investigation of the debtors assets by
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     failing to provide proof of ownership interest in properties listed on Schedule A /B. Section 1302 (b) (1)
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     citing Section 704 (a) (4).
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         The delay is unreasonable because the Debtor(s) is aware or should have been aware of these
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     requirements and the Trustee has previously requested these requirements be fulfilled.
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     Furthermore, the delay is prejudicial to creditors because disbursements cannot be made and
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     there is an automatic stay preventing collection efforts that would otherwise be available .
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             NOTICE IS HEREBY GIVEN that debtor or the attorney of record may request a hearing in
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     writing stating specific grounds for objecting to the dismissal or conversion of these proceedings to the
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     court and served on the trustee no later than twenty-one (21) days from the date of service of this motion.
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     Trustee will then schedule a hearing date and notice debtor and the attorney of record of said hearing
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     date.
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 1        I declare under penalty of perjury that the foregoing is true and correct.

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 3 Date: August 14, 2018                                                 /s/ Martha G. Bronitsky
                                                                      Signature of Martha G. Bronitsky
 4                                                                    Chapter 13 Standing Trustee

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 1                                      CERTIFICATE OF SERVICE

 2   I HEREBY CERTIFY that I have served a copy of the within and foregoing document on the debtor
     (s), counsel for debtor (s), and if applicable, the creditor, creditor representatives and the registered
 3   agent for the creditor by depositing it in the United States mail with first class postage attached
     thereto.
 4

 5   I declare under penalty of perjury under the laws of the State of California that the foregoing is true
     and correct.
 6

 7    Cara Pietrina Cordoni                               Pro Per
      2518 Encinal Ave
 8    Alameda,CA 94501                                    (Counsel for Debtor)

 9    (Debtor(s))

10    Date: 8/14/2018
                                                          /s/ Selesia Fredotovich
11                                                        Selesia Fredotovich

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